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              EXHIBIT 35
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 1       UNITED STATES DISTRICT COURT FOR THE
             SOUTHERN DISTRICT OF NEW YORK
 2                      - - -
 3    GOVERNMENT OF THE UNITED      : Case Number:
      STATES VIRGIN ISLANDS         : 1:22-cv-
 4           Plaintiff,             : 10904-JSR
             v.                     :
 5    JPMORGAN CHASE BANK, N.A.     :
             Defendant/Third-Party :
 6           Plaintiff.             :
      _________________________________________
 7    JPMORGAN CHASE BANK, N.A.     :
             Third-Party Plaintiff, :
 8           v.                     :
      JAMES EDWARD STALEY           :
 9           Third-Party Defendant. :
10
                            - - -
11                      APRIL 28, 2023
                      HIGHLY CONFIDENTIAL
12                          - - -
13                        Videotaped deposition of
14    KEVIN McCLEEREY, taken pursuant to
15    notice, was held at the law offices of
16    Porzio, Bromberg & Newman, P.C., 100
17    Southgate Parkway, 3rd Floor, Morristown,
18    New Jersey 07960, commencing at
19    9:13 a.m., on the above date, before
20    Amanda Dee Maslynsky-Miller, a Certified
21    Realtime Reporter and Notary Public in
22    and for the State of New York.
23                       - - -
            GOLKOW LITIGATION SERVICES, INC.
24          877.370.3377 ph| 917.591.5672 fax


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 1              A.        No.    No.     No securities.
 2              Q.        Did limiting Mr. Epstein to
 3    banking and custody only mitigate the
 4    risk presented by Mr. Epstein?
 5                        MR. BUTTS:        Objection to
 6              form.
 7                        You may answer.
 8                        THE WITNESS:         I think
 9              Jeffrey Epstein -- yes, I would
10              say yes, it did.
11    BY MS. OLIVER:
12              Q.        How?
13              A.        We were not expanding the
14    relationship based on the reputational
15    risk that we knew of at the time in
16    October of 2006.
17              Q.        Did limiting him to being a
18    banking-only client in any way limit the
19    risk presented by Mr. Epstein?
20                        MR. BUTTS:        Objection.
21                        You may answer.
22                        THE WITNESS:         It should
23              have.
24    BY MS. OLIVER:


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 1              Q.        How so?
 2              A.        We would have less accounts,
 3    or a -- we would cap the number of
 4    accounts and relationships with him.
 5              Q.        Did it limit his ability to
 6    make cash withdrawals in amounts for
 7    $40,000 to $80,000 several times a month?
 8              A.        No.
 9              Q.        Did it limit his ability to
10    send wires to women?
11              A.        There were no limitations,
12    no.
13              Q.        Did it limit his ability to
14    send wires to girls?
15              A.        I don't recall what
16    Mr. Epstein did with those accounts.                      But
17    there were no limitations on his banking
18    accounts, just from what I remember.
19              Q.        At the time of the rapid
20    response meeting in 2006, what was the
21    risk posed by Mr. Epstein to JPMorgan?
22              A.        Reputational risk.
23              Q.        What was the nature of the
24    reputational risk posed by Mr. Epstein to


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 1    alerts?
 2              A.        No.
 3              Q.        So we talked about -- we
 4    talked about the tools that you could use
 5    to do your job.
 6                        I take it from some of the
 7    prior e-mails, did your team's task
 8    include searching for negative news
 9    articles about Private Bank clients?
10              A.        That was a separate group in
11    the bank, the global security services
12    group.      So any time a DDR was sent
13    through the process, it went to global
14    security services.
15                        And they would -- they had
16    different databases, and it would trigger
17    any negative news for clients, they would
18    send that back to the banker, and to
19    somebody on my team, to indicate there
20    was some negative news about the client.
21                        And it's certain if we saw
22    an article in a local paper, we would
23    escalate that.
24              Q.        So there was a sort of


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 1    automated process that sent you or a
 2    member of your team an alert about a
 3    negative news article on a client?
 4              A.        Yes.
 5              Q.        And were those negative
 6    articles stored anywhere upon receipt?
 7              A.        It would always be retained
 8    by global security services.                 And the
 9    reference to the article should have been
10    attached or made part of the KYC form.
11    They were called Red Dots, for some
12    reason.
13              Q.        And this is the Red Dot
14    memo?
15              A.        Yeah.     That's the Red Dots,
16    yeah.
17              Q.        And I take it that the head
18    of the asset management business didn't
19    receive Red Dot memos?
20              A.        No.
21              Q.        And either did the head of
22    the investment bank?
23              A.        No.
24              Q.        You testified that you did


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